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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



SAMMY C. MOORE, JR.,                     )       CASE NO. 3:17CV130
                                         )
                     Petitioner,         )       JUDGE CHRISTOPHER A. BOYKO
                                         )
              Vs.                        )
                                         )
NEIL TURNER,                             )       MEMORANDUM OF OPINION
                                         )       AND ORDER
                                         )
                     Respondent.         )

CHRISTOPHER A. BOYKO, J:

       This matter comes before the Court on Petitioner Sammy C. Moore, Jr.’s Petition

under 28 U.S.C. § 2254 for Writ of Habeas Corpus by a Person in State Custody (ECF

#1). For the following reasons, the Court accepts and adopts the Magistrate Judge’s

Report and Recommendation and denies Petitioner’s Petition.

                                         FACTS

       The following is a factual synopsis of Petitioner’s claims. The Magistrate Judge’s

Report and Recommendation, adopted and incorporated, provides a more complete and

detailed discussion of the facts.


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       On May 5, 2015, Petitioner was charged with one count of Aggravated Robbery.

Following a bench trial, the trial court found Petitioner guilty and sentenced him to eight

years in prison. Petitioner appealed his sentence to the Court of Appeals on August 7,

2015. On June 17, 2016, the Court of Appeals affirmed the judgment of the trial court.

On August 18, 2016, Petitioner filed a Notice of Appeal and a Motion for a Delayed

Appeal to the Ohio Supreme Court. On October 26, 2016, the Ohio Supreme Court

summarily denied Petitioner’s Motion and dismissed the case.

       Petitioner filed the instant Petition on January 9, 2017, asserting the following

Grounds for Relief:

              GROUND ONE: The Defendant-Appellant[’]s United States Constitution
              Fourteenth Amendment right was violated when the Appellate Court
              affirmed the Trial Court[’]s judgment of conviction and sentence.

              GROUND TWO: The Defendant-Appellant[’]s United States Constitution
              Fourteenth Amendment right was violated when the State failed to present
              sufficient evidence to prove every clement of the crimes charged beyond a
              reasonable doubt as mandated by the ruling in Jackson v Virginia, 443
              U.S. 307, 99 S.Ct. 2781, 61 L.Ed.2d 560.

       On January 23, 2017, this Court referred Petitioner’s Petition to the Magistrate

Judge for a Report and Recommendation. The Magistrate Judge issued her Report and

Recommendation on August 16, 2017. Petitioner failed to file a timely objection and on

September 7, 2017, the Court adopted the Report and Recommendation and dismissed

the case. On September 8, 2017, Petitioner filed an Objection to the Report and

Recommendation. On September 25, 2017, Petitioner filed a Motion for

Reconsideration and the same Objections to the Report and Recommendation. On

March 26, 2018, the Court granted Petitioner’s Motion and re-opened the case. The

Court notes that Petitioner’s grounds for relief were not properly presented to the Ohio

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Supreme Court and appear to be procedurally defaulted. However, Respondent has

waived this argument. Therefore, the Court will address Petitioner’s claims on the

merits.

                               STANDARD OF REVIEW

       When a federal habeas claim has been adjudicated by the state courts, 28

U.S.C. § 2254(d)(1) provides the writ shall not issue unless the state decision “was

contrary to, or involved an unreasonable application of, clearly established federal law

as determined by the Supreme Court of the United States.” Further, a federal court may

grant habeas relief if the state court arrives at a decision opposite to that reached by the

Supreme Court of the United States on a question of law, or if the state court decides a

case differently than did the Supreme Court on a set of materially indistinguishable

facts. Williams v. Taylor, 529 U.S. 362, 405-406 (2000). The appropriate measure of

whether or not a state court decision unreasonably applied clearly established federal

law is whether that state adjudication was “objectively unreasonable” and not merely

erroneous or incorrect. Williams, 529 U.S. at 409-411.

       Pursuant to 28 U.S.C. § 2254(e)(1), findings of fact made by the state court are

presumed correct, rebuttable only by clear and convincing evidence to the contrary.

McAdoo v. Elo, 365 F. 3d 487, 493-494 (6th Cir. 2004). Finally, Rule 8(b)(4) of the Rules

Governing §2254 states:

                     A judge of the court shall make a de novo determination of
                     those portions of the report or specified proposed findings or
                     recommendations to which objection is made. A judge of the
                     court may accept, reject, or modify in whole or in part any
                     findings or recommendations made by the magistrate.



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                                      ANALYSIS

       In Ground One, Petitioner argues that the Court of Appeals failed to follow the

mandates of the rulings handed down by the United States Supreme Court under

Jackson v Virginia, 443 U.S. 307, 99 S.Ct. 2781, 61 L.Ed.2d 560. In Ground Two,

Petitioner argues that his constitutional rights were violated under Jackson. In the

Report and Recommendation, the Magistrate Judge points out that the Ohio Court of

Appeals considered the Jackson standard in its ruling.

       In order to obtain habeas relief under 28 U.S.C. § 2254(d), a petitioner

must show either that the state court decision (1) resulted in a decision contrary to, or

involving an unreasonable application of, clearly established federal law as determined

by the United States Supreme Court (“contrary to” clause); or (2) resulted in a decision

that was based on an unreasonable determination of the facts in light of the evidence

presented in the state court proceedings (“unreasonable application” clause). Id.

       The Court of Appeals followed the standard in Jackson when it concluded that

after viewing the evidence in a light most favorable to the prosecution, there was

sufficient evidence presented at trial to affirm Petitioner’s conviction. The Magistrate

Judge points out that the Court of Appeals recited the Jackson standard in its ruling. It

is clear that the Court of Appeals followed the mandates of Jackson. Therefore, the

conclusion reached by the Court of Appeals is not contrary to clearly established federal

law. The Court agrees with the Magistrate Judge that Ground One fails on the merits.

       In Ground Two, Petitioner argues that the evidence presented at trial does not

establish every element of the crime. As the Magistrate Judge states in the Report and

Recommendation, when a court reviews a claim that a petitioner’s conviction was not

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supported by sufficient evidence, the court asks “whether, after viewing the evidence in

the light most favorable to the prosecution, any rational trier of fact could have found the

essential elements of the crime beyond a reasonable doubt.” Jackson, 443 U.S. at 319.

Under this standard, deference is due the fact finder’s determination. Brown v. Konteh,

567 F.3d 191, 205 (6th Cir. 2009).

       The record shows that the Court of Appeals considered Petitioner’s sufficiency

arguments and correctly concluded that Petitioner committed the theft offense. The

record shows that the Court of Appeals reviewed the evidence regarding the box cutter

as a weapon and correctly concluded the state had sufficient evidence to prove it at

trial. “A state court’s determination that a claim lacks merit precludes federal habeas

review so long as ‘fair-minded jurists could disagree’ on the correctness of the state

court’s decision.” Harrington v. Richter, 562 U.S. 86, 101 (2011) (citing Yarborough v.

Alvarado, 541 U.S. 652, 664 (2004)).

       Here, the Court agrees with the Magistrate Judge that it cannot be said that the

Ohio Court of Appeals’ decision “was so lacking in justification that there was an error

well understood and comprehended in existing law beyond any possibility for

fair-minded disagreement.” See Harrington, 562 U.S. at 103. Therefore, the Court

finds that Ground Two is without merit.

       For the foregoing reasons, the Court ADOPTS and ACCEPTS the Magistrate

Judge’s well-reasoned Report and Recommendation, and denies Petitioner’s Petition

Under 28 U.S.C. §2254 for Writ of Habeas Corpus by a Person in State Custody.

       The Court finds an appeal from this decision could not be taken in good faith. 28

U.S.C. § 1915 (a)(3). Since Petitioner has not made a substantial showing of a denial

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of a constitutional right directly related to his conviction or custody, the Court declines to

issue a certificate of appealability. 28 U.S.C. § 2253 (c)(2); Fed. R. App. P. 22(b).



              IT IS SO ORDERED.




                                            s/Christopher A. Boyko
Date:4/4/2018                               CHRISTOPHER A. BOYKO
                                            United States District Judge




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